                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

   JEFFREY BILYEU, et al.                         )
                                                  )
            Plaintiffs,                           )
                                                  )        Case No. 3:21-cv-352
   v.                                             )
                                                  )        Judge Atchley
   UT-BATTELLE, LLC,                              )
                                                  )        Magistrate Judge McCook
            Defendant.                            )
                                                  )
                                                  )

                                               ORDER

           On June 30, 2022, the Court held a telephonic status conference with the parties. At the

  status conference, the parties explained the general details of a potential settlement in this case.

  Such a settlement necessitates a reassertion of class claims and adherence to Federal Rule of Civil

  Procedure 23. The parties and the Court agreed on a timeline to accomplish these matters.

           Thus, to facilitate a timely resolution in this matter, Plaintiff shall file an Amended

  Complaint as soon as practicable. Further, the parties are to submit briefing on class certification

  for settlement purposes, a motion for preliminary approval, and all other related and necessary

  filings for these first steps toward class settlement, no later than 45 days after entry of this

  order.

           SO ORDERED.
                                                /s/ Charles E. Atchley, Jr.
                                                CHARLES E. ATCHLEY JR.
                                                UNITED STATES DISTRICT JUDGE




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